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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

No. O§8- OY] S/mop/T0 p/
UNITED STATES OF AMERICA
VS.
ARMANDO Z. VEGA,

Defendant.
/

CRIMINAL COVER SHEET

I, Did this matter originate from a matter pending in the United States Attorney’s Office prior
to April 1,1999? ss Yes _x No
If yes, was it pending in the Central Region?
__ Yes ____—iNo

2. Did this matter originate from a matter pending in the United States Attorney's Office prior
to April 1, 2003? Yes _x _ No

3. Did this matter originate from a matter pending in the Narcotics Section (Miami) of the
United States Attorney’s Office prior to May 18, 2003? Yes _x No

4. Did this matter originate from a matter pending in the Northern Region of the United States
Attorney’s Office prior to October 14, 2003? Yes _ x No

5. Did this matter originate from a matter pending in the Central Region of the United States
Attorney’s Office prior to September 1, 2007? Yes _x No

Respectfully submitted,

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

By: _f Jo Dre

MARK DISPOTO

ASSISTANT UNITED STATES ATTORNEY
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United States District Court

SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

V. CRIMINAL COMPLAINT

ARMANDO 2. VEGA Case NumBeR: OF -2OY | SIM OM fop/

I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about January 11, 2008, the defendant, ARMANDO Z. VEGA, did threaten to assault
or murder federal law enforcement officers, that is, employees of the United States Citizens Immigration Service
Building, including but not limited to Officer “C.Q.,” with intent to impede, intimidate or interfere with such law
enforcement officers while engaged in the performance of official duties and with intent to retaliate against such
law enforcement officer on account of the performance of official duties; in violation of Title 18, United States
Code, Section 115(a){1)(B); and the defendant did knowingly without lawful authority, threaten the use of a
weapon of mass destruction, that is, a destructive device including any explosive incendiary bomb, grenade, or
similar device as defined in Title 18, United States Code, Section 921 , against a property that is owned, leased,
or used by the United States or by any department or agency of the United States, in violation of Title 18, United
States Code, Section 2332a(a)(3).

| further state that | am a Federal Police Officer with the Federal Protective Service Department of Homeland
Security and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

CBBE Ze ——

ANTONIO CASON, FEDERAL POLICE OFFICE
FEDERAL PROTECTIVE SERVICE
DEPARTMENT OF HOMELAND SECURITY

Sworn to before me, and subscribed in my presence,

 

 

JANUARY 15, 2008 at Miami, Florida
Date City and State

ANDREA M. SIMONTON bhi bee WA bio Th.
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer ‘Signature of Judicial Officer
 

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AFFIDAVIT
of
Antonio Cason
POLICE OFFICER
FEDERAL PROTECTIVE SERVICE

I, ANTONIO CASON, being duly sworn, depose and state:

1. I have been employed as a Federal Law Enforcement Officer since
December 20, 2001. I am currently a police officer with the Department of
Homeland Security, Federal Protective Service (“FPS”) and am assigned to the
Miami Office at the Claude Pepper Federal Office Building. Prior to this
assignment, I worked as a police officer for the Department of Defense for
approximately two years in Miami. I have also served eight years in the United
States Army.

2. As a police officer with the Federal Protective Service, my duties
include enforcing federal laws, rules and regulations that govern federal buildings
and government employees. I perform duties as a uniformed law enforcement
officer under 40 U.S.C § 1315 enforcing statutes, laws, building rules and
regulations, and the protection of federal property and all persons on federal
property.

3. This affidavit is made in support of a criminal complaint charging
ARMANDO Z. VEGA with violations of 18 U.S.C. § 115(a)(1)(B) and 18 U.S.C. §
2332a(a)(3). This affidavit is based upon my personal knowledge and information

as well as information provided to me by other law enforcement officers and civilian

witnesses. While I believe that this affidavit contains facts more than sufficient to
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establish probable cause, it does not contain all the facts known to me relating to
this investigation.

4, On January 11, 2008, at approximately 11:07 am., ARMANDO 4Z.
VEGA arrived at the Citizens Immigration Service Building located at 7880
Biscayne Boulevard in Miami for the purpose of confirming an appointment. This
building is leased by the United States government. Because of the defendant’s
criminal history, he is required to report periodically to a deportation officer, a
federal law enforcement officer employed by the Department of Homeland Security,
Immigration and Customs Enforcement located on the 6th Floor of the building.
Several other persons arrived at the building at or around the same time for the
same or similar purpose.

5. Contract Security Officer “Q” contacted the deportation office about the
people present for appointments and was asked to inform the individuals that they
would have to return the following Monday, January 14, 2008. Contract Security
Officer “Q” is considered a “federal law enforcement officer” under Title 18, United
States Code, section 115(c)(1). Many of the employees of the Citizens Immigration
Service Building are also considered “federal law enforcement officers” under Title
18, United States Code, section 115(c)(1).

6. Officer “Q” then informed persons waiting to gain entrance to the
Immigration building that they would have to return on Monday. Officer “Q” said
that all other persons vacated the area except ARMANDO Z. VEGA who became

irate and said in Spanish, “If I were a terrorist, I would blow up this building.” He

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repeated his threat at least three more times by stating in Spanish, “I am sick and
tired of reporting to the 6 Floor. I will blow up this building” while uttering
profanities. Soon thereafter, ARMANDO Z. VEGA ran across the street and fled
the scene. Officer “Q” considered the threat to be serious and felt intimidated by
Vega’s threat. Officer “Q” reported the incident immediately to the Federal
Protective Service.

7. The United States government leases the building located at 7880
Biscayne Boulevard and is the sole occupant of said building. At all times, there are
at least two security guards present.

8. Based on the foregoing, it is my belief that there exists probable cause
that ARMANDO Z. VEGA threatened to assault a federal law enforcement officer
with the intent to impede, intimidate or interfere such law enforcement officer while
engaged in the performance of official duties or with the intent to retaliate against
such law enforcement officer on the account of the performance of official duties in
violation of 18 U.S.C. § 115a(1)(B). Furthermore, it is my belief that there exists
probable cause that ARMANDO Z. VEGA threatened to use a weapon of mass
destruction, that is, a destructive device including any explosive, incendiary, bomb,
grenade, or similar device as defined in Title 18, United States Code, Section 921,

against any property
 

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that is owned, leased or used by the United States or by any department or agency

of the United States in violation of 18 U.S.C. § 2332a(a)3.

FURTHER AFFIANT SAYETH NAUGHT.

(xo =z

ANTONIO CASON

POLICE OFFICER

FEDERAL PROTECTIVE SERVICE
DEPARTMENT OF HOMELAND SECURITY

 

Sworn and subscribed before me this
15th day of January, 2008, at
Miami, Florida

Lite. li. pumph

ANDREA M. SIMONTON
UNITED STATES MAGISTRATE JUDGE
